                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:07cr62

UNITED STATES OF AMERICA                            )
                                                    )
                      vs.                           )
                                                    )                        ORDER
GROVER RATLIFF                                      )
                                                    )

       THIS MATTER is before the Court upon motion of the government to dismiss the

indictment, pursuant to Fed. R. Crim. P. 48(a). (Doc. No. 28).

       IT IS, THEREFORE, ORDERED that the government is granted leave to dismiss the

indictment in the above captioned case without prejudice.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, and the United States Attorney.

                                                 Signed: January 16, 2008




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